                         UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           DOCKET NO. 3:13 CR 19-FDW


UNITED STATES OF AMERICA,           )
Plaintiff,                          )
                                    )
v.                                  )                           ORDER
                                    )
THEODORE FALLS,                     )
Defendants.                         )
____________________________________)



       THIS MATTER is before the Court on Petitioner MidFirst Bank’s December 15, 2014

motion (the “Motion”) for supplemental relief in connection with this Court’s order dated May

20, 2014. FOR GOOD CAUSE shown, the Motion should be and is hereby GRANTED.

       IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Petitioner MidFirst Bank

is granted leave to foreclose its deed of trust encumbering certain real property situated at 1222

Karendale Ave, Charlotte, NC 28208, by way of appropriate proceedings in North Carolina state

court with notice of such proceedings being provided in the manner required by applicable law

to the United States and other proper parties who would be entitled to notice independent of the

forfeiture previously ordered in this cause.

                                               Signed: December 16, 2014




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